                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                           DOCKET NO. 3:08CR134-RJC

UNITED STATES OF AMERICA             )
                                     )
               v.                    )                                ORDER
                                     )
ALEJANDRO ENRIQUE RAMIREZ            )
UMANA,                               )
      a/k/a “Wizard”                 )
            “Lobo”                   )
                                     )
                    Defendant.       )
_____________________________________)

       THIS MATTER is before the Court on the defendant’s “Motion to Exclude the

Government’s Gang Expert Testimony and for a Hearing to Determine the Admissibility of Such

Testimony” (Doc. No. 962), filed April 1, 2010; and the government’s Response (Doc. No. 980),

filed April 9, 2010. For the reasons stated below, the Court DENIES the defendant’s motion.

I.     BACKGROUND

       The defendant is charged along with several other defendants in a Superseding Indictment

with multiple federal offenses arising principally out of his alleged affiliation with La Mara

Salvatrucha, also known as the MS-13 gang (hereafter “MS-13"). The charges include RICO

conspiracy, murder in aid of racketeering, Hobbs Act robbery and extortion, obstruction of justice,

and witness tampering. If the defendant is found guilty on certain of these charges, the government

intends to seek the death penalty. Six of the defendants in this case were tried in this Court before

a jury (the “non-capital trial”) and found guilty on January 26, 2010. The defendant’s trial is

calendared to begin on April 12, 2010. Of the numerous witnesses expected to testify, the

government has given notice of its intent to call Detective Frank Flores of the Los Angeles Police


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Department as an expert on MS-13. (Doc. No. 757 at 3). Detective Flores previously testified,

subject to cross-examination, as an expert on the structure, history, and nature of MS-13 during the

non-capital trial.

II.     DISCUSSION

        The defendant moves to exclude the expert testimony of Detective Flores. As a preliminary

matter, the defendant challenges the reliability of Detective Flores’s expert testimony under Daubert

v. Merrell Dow Pharm., 509 U.S. 579 (1993). The defendant also asserts that Detective Flores’

proffered expert testimony is based upon hearsay he gleaned from his involvement in an

investigation of the defendant in Los Angeles. The defendant claims that this exposure to the

investigation will cause Detective Flores to relate hearsay evidence to jury under the guise of an

expert, in violation of Crawford v. Washington, 541 U.S. 36 (2004) and Rule 703 of the Federal

Rules of Evidence. In light of these concerns, the defendant requests that the Court conduct a special

voir dire hearing to determine the admissibility of Detective Flores’s proffered testimony.

        A.      Reliability

        Rule 702 provides that an expert may testify “in the form of an opinion or otherwise” if his

“specialized knowledge will assist the trier of fact to understand the evidence or determine a fact

in issue.” In qualifying an expert, the Court is charged with a “gatekeeping” obligation to “ensure

that any and all scientific testimony . . . is not only relevant, but reliable.” Daubert, 509 U.S. at 589

(1993). Non-scientific expert testimony also requires the Court to make a preliminary finding of

reliability. See Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 147-49 (1999) (extending

Daubert to non-scientific expert testimony).

        Courts have generally upheld expert gang testimony as reliable if offered by an expert with

extensive training and experience with a particular gang. See, e.g., United States v. Mejia, 545 F.3d

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179, 193-94 (2d Cir. 2008) (upholding the qualification of an officer as an expert on MS-13 who had

served on and FBI gang task force, had extensive experience with MS-13, trained other police

departments about MS-13, and followed databases dedicated to MS-13); United States v. Hankey,

203 F.3d 1160, 1168-69 (9th Cir. 2000) (upholding the qualification of an officer who had been

working undercover with gangs for several years, had worked with thousands of gang members, had

received formal training in gang structure and organization, and taught classes about gangs).

        During his voir dire examination at the non-capital trial, Detective Flores testified that he had

investigated and worked with the MS-13 gang since 1999, interviewed over 2,000 gang members,

and testified in over 90 federal and state court proceedings regarding MS-13. Given these

credentials, and the fact that the Court has previously observed Detective Flores testify subject to

cross-examination on the same subject-matter, the Court finds Detective Flores’s proffered expert

testimony on the structure, history, and nature of MS-13 is sufficiently reliable. Contrary to what

the defendant argues in his motion, the absence of certain scientific criteria of reliability such as peer

review, publication, or potential error rate has no bearing on the reliability of this non-scientific

expert testimony. See Kumho Tire, 526 U.S. at150 (“Engineering testimony rests upon scientific

foundations, the reliability of which will be at issue in some cases . . . . In other cases, the relevant

reliability concerns may focus upon personal knowledge or experience.”); Hankey, 203 F.3d at 1169

(holding that peer review, publication, and potential error rate are irrelevant to the reliability of non-

scientific expert testimony about gangs). For these reasons, the Court denies the defendant’s motion

to exclude Detective Flores’s expert testimony on reliability grounds.

        B.      Testimonial Hearsay

        Expert testimony given by a law enforcement officer is subject to both evidentiary and

constitutional hearsay concerns. Rule 703 allows an expert to base an opinion or inference on

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hearsay evidence so long as it is “of a type reasonably relied upon by experts in the particular field

in forming opinions or inferences upon the subject . . . .” At the same time, however, the Sixth

Amendment right to confrontation bars the "admission of testimonial statements of a witness who

did not appear at trial unless he was unavailable to testify and the defendant had had a prior

opportunity for cross-examination." Crawford, 541 U.S. at 53-54.

       In claiming that Detective Flores’ proffered testimony violates both Crawford and Rule 703,

the defendant relies principally on Mejia, in which the Second Circuit held inadmissible the

testimony of an officer expert who “communicated out-of-court testimonial statements of

cooperating witnesses and confidential informants directly to the jury in the guise of an expert

opinion.” 545 F.3d at 198 (quotations omitted). There, the expert had improperly relied upon hearsay

obtained through his participation in the defendants’ investigation to testify that a specific MS-13

“clique” had taxed unaffiliated drug dealers and committed several murders. Id. at 197. In United

States v. Johnson, 587 F.3d 625 (4th Cir. 2009), the Fourth Circuit cited to Mejia with approval, but

provided additional guidance to distinguish proper from improper officer expert testimony. An

officer expert exposed to testimonial hearsay during the course of an investigation may nevertheless

render an expert opinion, so long as that opinion is formed by an “independent assessment” of the

subject-matter, based on “expertise, derived over many years and from multiple sources . . . .” Id.

at 636. Just yesterday, the Fourth Circuit upheld the admission of Detective Flores’s expert

testimony in another case against an almost identical Crawford challenge. See United States v.

Ayala, — F.3d —, No. 07-4577, slip. op. at 27-29 (4th Cir. April8, 2010).

       Thus, neither Rule 703 nor Crawford renders Detective Flores’s proffered expert testimony

per se inadmissible. Detective Flores possesses a general knowledge of the structure and history of

MS-13 that would allow him to render certain expert opinions without relying on hearsay gleaned

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from his involvement with the defendant’s specific investigation. See Johnson, 587 F.3d at 636. Of

course, to the extent that Detective Flores should also testify as a fact witness during the defendant’s

trial or, should it become necessary, sentencing hearing, the Court will assess the admissibility of

his testimony as it would for any other fact witness, and offer an appropriate limiting instruction to

the jury.

III.     CONCLUSION

         IT IS, THEREFORE, ORDERED that the defendant’s “Motion to Exclude the

Government’s Gang Expert Testimony and for a Hearing to Determine the Admissibility of Such

Testimony” (Doc. No. 962) is DENIED WITHOUT PREJUDICE. The Court finds that a separate

voir dire hearing is unnecessary, but counsel for the defendant may conduct a brief voir dire with

Detective Flores prior to his testimony and, if they wish, object to his qualification as an expert

witness at that time.

                                                   Signed: April 9, 2010




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